  Case 2:18-cv-09641-JFW-PLA Document 21 Filed 08/27/19 Page 1 of 1 Page ID #:320

                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES -REOPENING/CLOSING

Case No.LA 18 CV 09641 JFW (PLAx)                                Date   August 27, 2019

Title: Shirley Bazurto v. Wal Mart Stores Inc.

Present: The Honorable John F. Walter




                 Shannon Reilly                                        Not Reported
                Deputy Clerk                                     Court Reporter / Recorder


Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
Not Present                                        Not Present




Proceedings:    G In Court          G
                                    ✘ In Chambers       G Counsel Notified

G Case previously closed in error. Make JS-5.

G Case should have been closed on entry dated                            .

G Case settled but may be reopened if settlement is not consummated within                        days.
  Make JS-6.

✘ Other Joint STIPULATION to Dismiss Case pursuant to FRCP 41 - Make JS-6
G

G Entered                                  .




                                                                  Initials of Preparer       sr




CV-74 (10/08)                       CIVIL MINUTES -REOPENING/CLOSING
